   2:25-cv-02152-RMG              Date Filed 04/22/25      Entry Number 136         Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

The Sustainability Institute, et al.,          ) Civil Action Number: 2:25-cv-02152-RMG
                                               )
                         Plaintiffs,           )
                                               )
                 vs.                           )
                                               )
DONALD J. TRUMP, in his official               )
capacity as President of the United States,    )
et al.,                                        )
                                               )
                         Defendants.           )

                       DEFENDANTS’ RESPONSE TO ORDER (ECF No. 93)

        Defendants provide the following information in response to the Court’s April 21, 2025

Order (ECF No. 93):

        1.       The status of Defendants’ efforts to resume “processing, disbursement, and

payment” of grants subject to the Woonasquatucket River Watershed Council injunction:

        Undersigned counsel is informed that the agencies’ compliance with the injunctive relief

issued in Woonasquatucket is ongoing. The defendants in Woonasquatucket filed a status report

on April 16, 2025. See 1:25-cv-00097-MSM-PAS, ECF No. 47 (D.R.I.). On April 21, 2025, the

Rhode Island District Court held a status conference with the parties. Id. (Minute Entry Dated

4/21/25). The Rhode Island District Court has directed the parties to submit status reports by 12:00

PM on Wednesday, April 23, 2025. Id. If needed, the Rhode Island District Court will hold a

follow-up status conference at 4:00 PM on Wednesday, April 23, 2025. Id. Defendants respectfully

refer the Court to the forthcoming April 23, 2025 filing regarding Defendants’ compliance with

the Woonasquatucket injunction.

        Subject to the forthcoming status report, Defendants understand the following:

            DOE has advised that it does not have any pauses for IRA/IIJA funding that have already
  2:25-cv-02152-RMG             Date Filed 04/22/25       Entry Number 136             Page 2 of 2




            been awarded and to which the recipient is entitled to access the funds.

           USDA has advised that its leadership has instructed that awarded IRA and IIJA funds

            should be unfrozen, and grant management teams are working on implementation.

            There may be some funds that remain frozen for issues unrelated to the issues in the

            case.

           EPA has advised that it is disbursing some IRA/IIJA funds, but some IRA/IIJA-funded

            grants may still be paused for independent, individualized terminations.

           DOT is not a party to the Woonasquatucket case.

       2.        The specific status of the grants set forth at Dkt. No. 25-1 at 14-20, indicating

whether the grant funds for each grant are presently paused, accessible to grantees, or

terminated:

       Please see spreadsheet attached hereto as Exhibit A.

                                                      Respectfully submitted,

                                                      BROOK B. ANDREWS
                                                      ACTING UNITED STATES ATTORNEY

                                               By:    s/Lee E. Berlinsky
                                                      Lee E. Berlinsky (#05443)
                                                      Assistant United States Attorney
                                                      151 Meeting Street, Suite 200
                                                      Charleston, SC 29401
                                                      Tel: (843) 266-1679
                                                      Lee.Berlinsky@usdoj.gov

                                                      Todd Timmons (#11254)
                                                      Assistant United States Attorney
                                                      1441 Main Street, Suite 500
                                                      Columbia, South Carolina 29201
                                                      Tel: (803) 237-9265
April 22, 2025                                        Todd.Timmons@usdoj.gov


                                                  2
